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                             No. 23-50224

In the United States Court of Appeals for the Fifth Circuit
                           _____________

Leila Green Little; Jeanne Puryear; Kathy Kennedy; Rebecca
    Jones; Richard Day; Cynthia Waring; Diane Moster,
                                            Plaintiffs-Appellees,
                                     v.
  Llano County; Ron Cunningham, in his official capacity as
 Llano County Judge; Jerry Don Moss, in his official capacity
  as Llano County Commissioner; Peter Jones, in his official
capacity as Llano County Commissioner; Mike Sandoval, in his
    official capacity as Llano County Commissioner; Linda
       Raschke, in her official capacity as Llano County
Commissioner; Amber Milum, in her official capacity as Llano
   County Library System Director; Bonnie Wallace, in her
   official capacity as Llano County Library Board Member;
   Rochelle Wells, in her official capacity as Llano County
    Library Board Member; Rhoda Schneider, in her official
capacty as Llano County Library Board Member; Gay Baskin, in
 her official capacity as Llano County Library Board Member,
                                    Defendants-Appellants.
                           _____________

             On Appeal from the United States District Court
                   for the Western District of Texas
                        Case No. 1:22-cv-424-RP
                          _____________

   Motion To Expedite Consideration Of Motion To
                  Expedite Appeal
                           _____________

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    Earlier today, the appellants filed a motion to expedite their appeal from the dis-

trict court’s preliminary-injunction order, along with a motion to stay the prelimi-

nary injunction pending appeal. Under the rules of appellate procedure, the appel-

lees’ responses to each of these motions are due on May 5, 2023. See Fed. R. App.
P. 27(a)(3).

    The appellants respectfully ask the Court to expedite consideration of their mo-

tion to expedite the appeal, so that the appellees’ response will be due by close of
business on Friday, April 28, 2023. The appellants will then file their reply brief

within 48 hours of service of the appellees’ response. The appellants are not re-

questing expedited consideration of their motion to stay the preliminary injunction

pending appeal.

    The appellants are asking the Court to expedite consideration of their motion to

expedite the appeal because they are requesting a briefing schedule that will allow

oral argument to be heard in July of 2023. The appellants are prepared to file their

opening brief within 14 days after issuance of a briefing order, and they can file their

reply within 7 days of service of the appellees’ brief. If the motion to expedite the

appeal is considered on an expedited basis, then the Court could issue a briefing

schedule that accommodates the appellants’ request while still allowing the appel-

lees a full 30 days to file their answering brief, thereby avoiding prejudice to the ap-

pellees who are opposing the motion to expedite the appeal.




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                                 Conclusion
   The motion to expedite consideration of the appellants’ motion to expedite the

appeal should be granted, and the Court should instruct the appellees to respond to
the motion to expedite the appeal by close of business on Friday, April 28, 2023.

                                        Respectfully submitted.

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Dated: April 25, 2023                   Counsel for Defendants-Appellants




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                     Certificate of Conference
    I certify that on April 24, 2023, at 11:32 a.m. central time, I e-mailed counsel
for the appellees to request their position on the motion, but they have not re-
sponded to the e-mail or informed us of their position.


                                      /s/ Jonathan F. Mitchell
                                      Jonathan F. Mitchell
                                      Counsel for Defendants-Appellants




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                          Certificate Of Service
    I certify that on April 25, 2023, this document was electronically filed with the
clerk of the court for the U.S. Court of Appeals for the Fifth Circuit and served
through CM/ECF upon:

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                    Certificate of Compliance
               with type-volume limitation, typeface requirements,
                           and type-style requirements

1.    This brief complies with the type-volume limitation of Fed. R. App. P.
      27(d)(2) because it contains 286 words, excluding the parts of the brief ex-
      empted by Fed. R. App. P. 32(f).

2.    This brief complies with the typeface and type-style requirements of Fed. R.
      App. P. 27(d)(1)(E), 32(a)(5), and Fed. R. App. P. 32(a)(6) because it uses
      Equity Text B 14-point type face throughout, and Equity Text B is a propor-
      tionally spaced typeface that includes serifs.



                                             /s/ Jonathan F. Mitchell
                                             Jonathan F. Mitchell
Dated: April 25, 2023                        Counsel for Defendants-Appellants




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            Certificate of Electronic Compliance
    Counsel also certifies that on April 25, 2023, this brief was transmitted to Mr.
Lyle W. Cayce, Clerk of the United States Court of Appeals for the Fifth Circuit,
through http://www.pacer.gov.
    Counsel further certifies that: (1) required privacy redactions have been made,
5th Cir. R. 25.2.13; (2) the electronic submission is an exact copy of the paper doc-
ument, 5th Cir. R. 25.2.1; and (3) the document has been scanned with the most re-
cent version of VirusTotal and is free of viruses.



                                          /s/ Jonathan F. Mitchell
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                                          Counsel for Defendants-Appellants




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